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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                  Case No.: 9:16-cv-81798-DMM

                                                  x
  TTT Foods Holding Company LLC,                  :
  a Florida limited liability company,            :
                                                  :
         Plaintiff,                               :
                                                  :
  v.                                              :
                                                  :
  BEATRICE NAMM, an individual,                   :
  JONATHAN NAMM, an individual, and               :
  DELUXE GOURMET SPECIALTIES LLC, a               :
  New Jersey limited liability company,           :
                                                  :
         Defendants.                              :
                                                  x

                      MOTION TO EXTEND EXPERT REPORT DEADLINE
                           AND AMEND SCHEDULING ORDER

         Plaintiff, TTT Foods Holding Company LLC (“TTT Foods”), hereby files this Motion to

  Extend Expert Report Deadline and Amend Scheduling Order (the “Motion”), which requests

  that the Court extend the January 9, 2017 deadline for TTT Foods to provide to opposing counsel

  its expert report and amend the scheduling order accordingly, and in support thereof states as

  follows:

                                  FACTUAL BACKGROUND

         1.      On November 2, 2016, TTT Foods filed the Amended Complaint (the

  “Complaint”) [ECF No. 8]. TTT Foods has alleged inter alia that Beatrice Namm (“Mrs.

  Namm”) caused Bea’s Brooklyn’s Best LLC (“Brooklyn’s Best”), a company that owes more

  than $176,001.76 to TTT Foods, to fraudulently transfer more than $99,000 to or for the benefit

  of Mrs. Namm and Jonathan Namm (together, the “Namms”) for insufficient consideration.



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  TTT Foods has also alleged that Mrs. Namm breached her fiduciary duties as a result of inter

  alia the fraudulent transfers, and that Deluxe Gourmet Specialties LLC (“Deluxe”) and Mrs.

  Namm should be held liable for Brooklyn’s Best’s indebtedness to TTT Foods under a theory of

  alter ego and piercing the corporate veil.

           2.    With respect to TTT Foods’ fraudulent transfer claims, it is required to establish

  that Brooklyn’s Best and Deluxe were insolvent at the time of the transfers, or that they became

  insolvent shortly after the transfers were made.      Further, the Namms have alleged in their

  Amended Answer, Affirmative Defenses (the “Amended Answer”) [ECF No. 29] that reasonably

  equivalent value was provided in exchange for the alleged fraudulent transfers. Am. Answer. ¶¶

  14-15.

           3.    TTT Foods expects William G. King (“Mr. King”) of WK Financial, LLC to

  testify with respect to the insolvency of Brooklyn’s Best and Deluxe, the transfers at issue in this

  case, and amount of, or lack thereof, any value and/or consideration provided in exchange for the

  transfers.

           4.    In order for TTT Foods to prepare for trial, prosecute its claim, defend against the

  affirmative defenses, and obtain information for Mr. King’s review, on December 13, 2016, TTT

  Foods issued discovery in the form of document requests to the Namms and Deluxe

  (collectively, the “Defendants”) that sought inter alia copies of tax returns, bank statements,

  financials, and general ledgers. The deadline for the Defendants to respond to such discovery is

  presently January 12, 2017.

           5.    On December 16, 2016, TTT Foods issued a number of subpoenas, including a

  subpoena to Bank of America, N.A. (“Bank of America”) that requests inter alia copies of bank

  statements, checks, deposit slips and account opening documents for the Defendants.             On

  December 21, 2016, the Namms filed an Objection to Subpoena and Motion for Protective Order

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  and Incorporated Memorandum of Law (the “Motion for Protective Order”) [ECF No. 30] that

  objected to the production of any bank records as they relate to the Namms.

         6.      On January 4, 2017, TTT Foods filed its Response to the Motion for Protective

  Order [ECF No. 37]. The Namms have not filed their reply and the Court has not ruled on the

  matter. Counsel for the Defendants has not agreed to release the documents as they relate to

  Deluxe, and Bank of America has not provided any responsive documents.

         7.       The Pretrial Scheduling Order and Order Referring Case to Mediation (the

  “Scheduling Order”) [ECF No. 18] the Court entered on November 15, 32016 sets forth January

  9, 2017 as the deadline for TTT Foods to provide to opposing counsel a names and addresses of

  all expert witnesses intended to be called at trial, and with expert reports or summaries of its

  expert witnesses’ anticipated testimony in accordance with Fed. R. Civ. P. 26(a)(2).        See

  Scheduling Order ¶ 10.

         8.      While TTT Foods provided the Defendants with its Rule 26 Disclosure of Expert

  Witnesses on January 6, 2017, which disclosed that TTT Foods intends to have Mr. King testify

  with respect to insolvency and value of consideration, TTT Foods requires additional time to

  provide its expert report to the Defendants because TTT Foods needs to obtain the documents

  responsive to the foregoing discovery and provide such documents to Mr. King.

         9.      The Scheduling Order provides that all discovery shall be completed by April 3,

  2017, and schedules this case for trial during a two-week period commencing June 26, 2017. See

  Scheduling Order. ¶ 10, 1.

         10.     Through the Motion, TTT Foods seeks an Order extending its expert report

  deadline for a period of 45 days through February 23, 2017, and amending the Scheduling Order

  accordingly.

         11.     Additional facts are set forth below in the interest of brevity.

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                                           ARGUMENT

         12.     Rule 16 of the Federal Rules of Civil Procedures provides that “[a] schedule may

  be modified only for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). “Rule

  16’s good cause standard precludes modification of a scheduling order unless the deadlines

  cannot be met despite the diligence of the party seeking the extension.” Diaz v. Burchette, 585

  F. App'x 968, 969 (11th Cir. 2014) (quotations omitted).

         13.     Good cause exists to extend the expert report deadline for a period of 45 days.

  TTT Foods has diligently and timely pursued its claims, and conducted discovery. TTT Foods

  filed the Amended Complaint on November 2, 2016, and filed a Motion to Strike Affirmative

  Defenses [ECF No. 28] on December 5, 2016, which caused the Defendants to file an Amended

  Answer, Affirmative Defenses [ECF No. 29] that alleged seven less affirmative defenses than in

  their initial answer. TTT Foods issued document requests to the Defendants on December 13,

  2016, and issued various subpoenas to other parties on December 16, 2016. TTT Foods has not

  received any responsive documents from the Defendants. The Namms objected to Bank of

  America’s production of their bank records, to which TTT Foods has responded, and the Namms

  have not filed their reply.

         14.     While TTT Foods has already disclosed to the Defendants the name and address

  relating to Mr. King, it is unable to comply with the expert report deadline because it has not

  received the requested documents relating to insolvency and the transfers. TTT Foods needs to

  obtain such documents to provide to Mr. King before it is able to obtain findings and the expert

  report to provide to the Defendants.

         15.     TTT Foods does not believe the Defendants will be prejudiced by the requested

  extension because the two-week trial period does not commence until June 26, 2017, and the

  discovery period does not expire until April 3, 2017.

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         16.     Based on the foregoing, TTT Foods believes good cause exists for the Court to

  consent to the proposed 45 day extension of the expert report deadline, and to modify the

  Scheduling Order accordingly.

         17.     Counsel for TTT Foods has communicated with counsel for the Defendants with

  respect to the 45 day extension requested herein; however, as of the time of filing the Motion,

  counsel for the Defendants has not agreed to such relief.

         WHEREFORE, Plaintiff, TTT Foods requests that this Court enter an Order: i) granting

  the Motion; ii) extending TTT Foods’ deadline to provide opposing counsel with its expert report

  in accordance with Fed. R. Civ. P. 26(a)(2) for a period of 45 days through February 23, 2017;

  iii) amending the Scheduling Order accordingly; and iv) granting TTT Foods any other

  additional relief that the Court deems just and appropriate.

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice
  of electronic filing via CM/ECF to Gus R. Benitez, Esquire, counsel for the Defendants, 1223
  East Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, and
  to those other parties registered to receive such service on January 9, 2017.

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                                                By:    /s/ John E. Page
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